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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                      Crim. No. 04-80642-D1
             Plaintiff-Respondent,
                                                      District Judge Paul D. Borman
v.                                                    Magistrate Judge R. Steven Whalen
TARY HOLCOMB,

             Defendant-Petitioner.
                                                  /
                        REPORT AND RECOMMENDATION

      Petitioner Tary Holcomb has filed two Motions to Vacate Sentence under 28 U.S.C.
§2255 [Doc. #360 and Doc. #372], both of which have been referred for Report and

Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B). Because the Sixth Circuit has

denied Petitioner authorization to file successive petitions under § 2255, I recommend that
both motions be DISMISSED.
                                 I.   BACKGROUND

      On December 12, 2005, Petitioner pled guilty to Count I of an indictment charging

conspiracy to possess with intent to distribute marijuana, in violation of 21 U.S.C. §§

841(a)(1) and 846. On May 25, 2006, the Court imposed a sentence of 120 months (the
statutory mandatory minimum), accepting the government’s recommendation for a

downward departure from the Sentencing Guideline range of 151 to 170 months.
      Pursuant to the Rule 11 plea agreement, Petitioner waived his right to appeal.
However, on March 21, 2007, he filed a motion to vacate sentence under 28 U.S.C. §2255

[Doc. #283]. I filed a Report and Recommendation that the motion be denied, and on May
30, 2008, District Judge Paul D. Borman accepted my recommendation and denied the


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motion [Doc. #341].
       The Petitioner filed the present motions to vacate on June 6, 2011 and November 28,

2011, respectively. On June 8, 2011, Petitioner also filed the same motion in the Sixth
Circuit, which treated it as a request for permission to file a second or successive petition.

On April 3, 2012, a panel of the Sixth Circuit issued an order denying Petitioner leave to file

a second or successive petition. See Doc. #376.
                                    II.   DISCUSSION

       28 U.S.C. § 2244(b)(3)(A) provides that “[b]efore a second or successive application
permitted by this section is filed in the district court, the applicant shall move in the
appropriate court of appeals for an order authorizing the district court to consider the

application.” Requests to file successive petitions “are exclusively the responsibility of the

court of appeals.” In re Sims, 111 F.3d 45, 46 (6th Cir. 1997). Here, the Court of Appeals for

the Sixth Circuit has denied Petitioner authorization to file successive petitions. This Court
therefore does not have the authority to consider either of Petitioner’s § 2255 motions.
                                   III.   CONCLUSION

       For these reasons, I recommend that Petitioner’s motions to vacate sentence [Doc.
#360 and Doc. #372] be DISMISSED.

       Any objections to this Report and Recommendation must be filed within fourteen
(14) days of service of a copy hereof, including weekends and intervening holidays, as

provided for in 28 U.S.C. §636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file specific

objections constitutes a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140,

106 S.Ct. 466, 88 L.Ed.2d 435 (1985); Howard v. Secretary of HHS, 932 F.2d 505 (6th Cir.

1991); United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Filing of objections which

raise some issues but fail to raise others with specificity will not preserve all the objections

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a party might have to this Report and Recommendation. Willis v. Sullivan, 931 F.2d 390, 401

(6th Cir. 1991); Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir.

1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served upon

this Magistrate Judge.
        Within fourteen (14) days of service of any objecting party’s timely filed objections,
including weekends and intervening holidays, the opposing party may file a response. The

response shall be not more than twenty (20) pages in length unless by motion and order such
page limit is extended by the court. The response shall address specifically, and in the same

order raised, each issue contained within the objections.

                                                 s/ R. Steven Whalen
                                                 R. STEVEN WHALEN
                                                 UNITED STATES MAGISTRATE JUDGE
Date: June 13, 2012



                                    CERTIFICATE OF SERVICE
The undersigned certifies that the foregoing document was served upon counsel of record via the Court's ECF
System to their respective email addresses or First Class U.S. mail disclosed on the Notice of Electronic
Filing on June 13, 2012.

 Tary Holcomb, #39075039                          s/Johnetta M. Curry-Williams
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